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               STATEMENT OF FACTS IN SUPPORT OF A COMPLAINT

       Leading up to Thursday, December 14, 2017, the undersigned (“UC”) was acting in an

undercover capacity as part of the Metropolitan Police Department-Federal Bureau of

Investigation (“MPD-FBI”) Child Exploitation Task Force. The UC had posted numerous online

bulletin messages on specific social media forums, which, based on the UC’s experience and

information gathered from other sources, are websites that are frequented by individuals who have

a sexual interest in children and incest. The messages were intended to attract individuals with a

sexual interest in children. The UC would respond to certain messages or post messages on these

public forums, and the UC provided his KIK account screen name. “KIK” refers to KIK messenger,

a free mobile application that permits users to send text messages and other content, including

videos and images.

       On Thursday, December 14, 2017, at approximately 2:17 p.m. EST, an individual using

the KIK screen name, “treeman2832,” subsequently identified as the defendant, Jeremy Sears, sent

the UC a private message via KIK instant messenger stating, “Hey.” Sears stated that he was a

married father with a 10-year-old daughter, and was residing in the Boston area. The UC informed

Sears that he was the father of an 8 year-old daughter. Sears requested images of the UC’s

purported daughter, and asked the UC if he wanted to trade pictures. Sears stated that he has taken

nude photos of his daughter in the past, but deletes them from his phone. Sears stated that he has

not sexually abused his daughter.

       During the course of the chat, Sears sent the UC five images of his purported daughter. All

of the images appear to be the same young girl, and she is clothed in all of the images. Sears

requested that the UC take pictures of his purported daughter’s vagina. Sears informed the UC that

he would take nude images of his daughter later in the evening and send them to the UC. The UC



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asked Sears what size panties his daughter wore, to which Sears quickly responded back, “9.”

Sears then sent the UC an image depicting 2 pairs of children’s underwear lying on a bed.

         As the chat continued, Sears asked, “U like young girl vids?”1 Shortly after asking, Sears

sent the UC a video depicting child pornography. Specifically, the video depicted an adult male

inserting his penis into a child’s anus, while inserting his finger inside the child’s vagina. Sears

then sent the UC a “Dropbox”2 link containing 102 videos. The vast majority of the videos depict

female children under the age of approximately 10 being sexually assaulted by adult men and

woman. The sexual acts depicted in the videos include vaginal and anal penetration of the minors

depicted. Sears ended the chat session stating, “My wife got home I will txt u in a little and send

nudes of my daughter.”

         On Friday December 15, 2017, Sears again contacted the UC and began another chat

session. During the course of the chat, Sears sent the UC two additional links containing numerous

videos depicting what appeared to be teenaged and prepubescent minors engaged in sexual acts.

Sears stated that he has additional child pornography that he trades with other people. He further

indicated that he had not taken pictures of his daughter the prior evening because his wife was

present, but stated that he intended on taking pictures of her that evening.

         On Monday December 17, 2017, the UC continued to chat with Sears via KIK. During the

course of the chat, Sears provided the UC with his cellular phone number, which he indicated was

702-522-0611. The UC then had a brief conversation with Sears via text messaging at the telephone

number provided before resuming a chat conversation via KIK.




1
 All text abbreviations and typographical errors in quoted text language are original.
2
 “Dropbox” is a digital cloud storage application that allows users to store files, including video and image files,
and to allow others access to those files.

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       During the course of the chat, Sears asked the UC if he had taken any pictures of his

daughter. The UC sent Sears an image of his purported daughter, depicting the purported child

wearing a pink shirt and underwear. The image did not depict a real child. Sears responded, “Sexy

any nude ones?” The UC asked Sears regarding Sears’ sexual activity with his daughter, “what’s

the most you have done?” Sears responded, “Just look touch her boob and butt.”

       On December 19, 2017, Sears sent the UC two Dropbox links, titled, “X” and “dirty vids.”

Dropbox link “X” was a duplicate of the link that Sears sent the UC on December 14, 2017. The

file titled, “dirty vids” contained 116 videos depicting mostly what appeared to be adult and older

teens engaging in sexual activity. The UC sent Sears an image of his purported daughter depicting

the UC holding a note near the child with the date “12/19/17” written on a piece of paper. Sears

sent the UC two additional Dropbox links titled, “Kleine Kinder” and “V1.” Both of those

Dropbox links contained numerous videos depicting mostly what appeared to be older teens

engaged in sexual acts.

       That same day, Sears also sent the UC five videos depicting prepubescent children being

sexually abused by adult men and women. The following are descriptions of the videos Sears sent:


   1. A video depicting a prepubescent female child masturbating an adult male penis in a

       bathtub;

   2. A video depicting an adult female licking a prepubescent female child’s vagina while

       inserting a sex toy in the child’s anus;

   3. A video depicting an adult male licking a prepubescent child’s vagina and anus and

       rubbing his penis on her bare vagina and anus;

   4. A video depicting an adult female licking a prepubescent child’s vagina and inserting her

       finger in the child’s vagina;


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    5. A video of a prepubescent female child sucking an adult male penis.


        Sears also sent the affiant 15 images the same day depicting child pornography. The

majority of the images depict prepubescent children engaged in sexual acts. The following are

examples of the images Sears sent:


    1. An image of a prepubescent female child sucking an adult male penis;

    2. An image of a prepubescent female child naked from the waist down, spreading her legs

        apart to expose her vagina;

    3. An image depicting a prepubescent female child being anally penetrated by an adult male

        penis.


        On December 21, 2017, Sears sent four images of his daughter. The images depicted a

young girl in a bedroom wearing underwear and a shirt. The child does not appear to be aware that

her picture is being taken. Sears also sent an additional eleven images depicting a child who

appeared to be between the ages of ten and twelve. The child was clothed, and in a laundry room.

The majority of the pictures focused on the child’s buttocks as she was bending over. The top of

the child’s buttock crack was visible in some of these images.3 Sears stated, “I love to fuck my

buddies daughter,” referring to the girl in the pictures.

        On December 22, 2017, Sears sent the UC three additional Dropbox links. Two of the

links, titled “X” and “Kleine Kinder” were duplicates of links that Sears had previously sent the




3
  As a result of a technical difficulty with the UC’s phone, the four clothed images of Sears’ friend’s daughter that
Sears sent to the UC were unable to be forensically extracted and retained. As a result, the images as described are
not available for production. However, the descriptions noted herein were written contemporaneously by the UC upon
receipt of the images and while the UC was observing the images directly. None of the images depicted child
pornography.

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UC, as set forth above. The third link was entitled “V9,” and contained 31 videos depicting mostly

young teen and older teen girls either engaged in sexual activity or posing suggestively.

        On December 26, 2017, Sears sent the UC via KiK messenger two additional videos

depicting child pornography. The first video is two minutes in length and depicts a prepubescent

female being sexually abused by an adult male. The child sucks on the penis of the male, who is

wearing a clown face mask to disguise his face and is digitally penetrating the child’s vagina with

his fingers.

        In December of 2017, the FBI served an emergency disclosure request on KIK requesting

subscriber information and IP access logs associated with the account. KIK responded by

providing information that the associated display name was “Jeremy Sears” and that the account

was associated with an unconfirmed email address of treeman2832@yahoo.com. KIK also

provided IP logs between November 15, 2017, and December 14, 2017, which indicated that the

account holder primarily connected to his account via an AT&T Wireless telephone.

        The FBI then served an administrative subpoena on Yahoo for subscriber information

associated with the email address “treeman2832@yahoo.com,” provided by KIK.                 Yahoo

responded by providing a subscriber name of “Jeremy Sears” and a telephone number associated

with the account of 508-762-XXXX.

        The FBI served an administrative subpoena on Nextplus, the owner of the phone number

provided to by SEARS to the UC during the course of the chats, for subscriber information

associated with telephone number 702-522-XXXX. Nextplus responded that the subscriber was

“Jake Smith” linked to email address jeremysears2828@icloud.com.

        Upon receipt of all of this information, WFO used available open source and law

enforcement sensitive databases to fully identify the user of KIK account “treeman2832” as Jeremy



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J. Sears, with a date of birth of 06/28/19XX; a social security number of 019-66-XXXX; and an

address at                  , Brimfield MA.



                                                  ____________________________
                                                  Detective Timothy Palchak
                                                  MPD/Federal Bureau of Investigation




       Sworn and subscribed to before me this _____ day of June 2018.



                                                  ____________________________
                                                  Robin Meriweather
                                                  United States Magistrate Judge




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